                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 1 of 20




                                   1

                                   2

                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     SKILLZ PLATFORM INC.,                               Case No. 21-cv-02436-BLF (SVK)
                                   7                    Plaintiff,                           UNDER SEAL
                                   8             v.                                          ORDER FOLLOWING IN-CAMERA
                                                                                             REVIEW OF AVIAGAMES
                                   9     AVIAGAMES INC.,                                     DOCUMENTS
                                  10                    Defendant.                           Re: Dkt. No. 301
                                  11          Before the Court is the Parties’ Joint Discovery Submission regarding the request of
                                  12   Plaintiff Skillz Platform Inc. that the Court conduct an in-camera review of documents withheld as
Northern District of California
 United States District Court




                                  13   privileged by Defendant AviaGames Inc. (“Avia”). Dkt. 300-3, 301. The basis for Skillz’ request
                                  14   is that the crime-fraud exception may apply. Id. On October 6, 2023, the Court ordered Avia to
                                  15   provide the Court with the documents that are the subject of the request for in-camera review.
                                  16   Dkt. 325. On October 10, 2023, the Court ordered Skillz to provide the Court with additional
                                  17   documents concerning the basis for its request for in-camera review. Dkt. 331.
                                  18          Following the Court’s in-camera review of the documents submitted by Avia and the
                                  19   Court’s review of the additional documents provided by Skillz at the Court’s request, the Court set

                                  20   this matter for hearing. Dkt. 339. Before the hearing the Court issued an order requesting that

                                  21   Avia be prepared to address whether specified documents were properly subject to attorney-client

                                  22   privilege and/or fell within the crime-fraud exception to the privilege. Dkt. 350.

                                  23          The Court held a hearing on October 24, 2023, during which the Court ordered the Parties

                                  24   to submit additional briefs. See Dkt. 411-412. Having reviewed the Parties’ submissions, the

                                  25   arguments at the hearing, the relevant law and the litigation history in this action, the Court finds

                                  26   that the crime-fraud exception to attorney-client privilege applies to certain of the documents

                                  27   reviewed in-camera and orders Avia to produce those documents, including attachments, no later

                                  28   than November 2, 2023.
                                            Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 2 of 20




                                   1   I.      RELEVANT PROCEDURAL BACKGROUND

                                   2           The present discovery dispute arises out of an August 23, 2023 order by the presiding

                                   3   District Judge, the Honorable Beth L. Freeman, which granted-in-part and denied-in-part Skillz’

                                   4   request to reopen discovery for the purpose of investigating Avia’s use of “bots”1 in its

                                   5   Pocket7Games platform. Dkt. 224 (the “August 23 Order”). Judge Freeman explained in that

                                   6   order that two Avia executives testified in depositions taken in May 2023 to the effect that Avia

                                   7   does not use bots. Id. at 1-2. However, shortly before fact discovery closed on May 25, 2023,

                                   8   Avia produced instant messages that appeared to suggest that Avia uses bots in its Pocket7Games

                                   9   platform and that the Avia witnesses were aware of this fact. Id. at 2. Judge Freeman found good

                                  10   cause to allow limited discovery on this issue. Id. at 3-4, 5-6. The August 23 Order, among other

                                  11   things, authorized the following additional discovery:

                                  12                  (a)   AviaGames shall produce all documents and communications, including
Northern District of California
 United States District Court




                                  13                        source code, that refer to, bear on, or relate to AviaGames’ or Pocket7Games’

                                  14                        use of bots (including, but not limited to, all documents and communications
                                                            that refer to, bear on, or relate to Avia’s use, directly or indirectly, of bots,
                                  15
                                                            robots, cucumbers, guides, any artificial or computer-enabled virtual player,
                                  16
                                                            or any other naming convention used by Avia to refer to the same).
                                  17
                                                      (b)   AviaGames shall produce all documents and communications from all
                                  18
                                                            sources, including but not limited to Lark, WeChat, messaging on personal
                                  19
                                                            devices and any other messaging platforms used by AviaGames and
                                  20
                                                            AviaGames’ employees regarding AviaGames’ or Pocket7Games’ business
                                  21
                                                            practices, that hit on the original search terms and the search terms contained
                                  22
                                                            in Schedule A of Skillz’s proposed discovery plan. See ECF No. 215.
                                  23
                                                      (c)   Skillz may propound, and AviaGames shall answer up to 3 interrogatories
                                  24
                                                            limited to AviaGames’ use of bots. Skillz will not be permitted to propound
                                  25

                                  26
                                       1
                                         The Parties dispute the meaning of the term “bot” and whether playing against previously-
                                  27   recorded videos of a game played by human players constitutes a “bot.”
                                  28
                                                                                          2
                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 3 of 20




                                   1                        requests for admission.

                                   2                  (d)   Skillz may serve a supplemental 30(b)(6) corporate deposition notice

                                   3                        regarding AviaGames’ use of bots, and Skillz may take an additional

                                   4                        deposition of AviaGames under Rule 30(b)(6) not to exceed 3 hours

                                   5                        (AviaGames may designate more than one witness to address the topics in the

                                   6                        30(b)(6) notice, and the total time that the individuals may be deposed may

                                   7                        not exceed 3 hours) and up to 1 deposition of an individual witness not to

                                   8                        exceed 3 hours.

                                   9   Id. at 5-6.

                                  10           On September 6, 2023, Judge Freeman granted Avia’s motion for clarification of the

                                  11   August 23 Order and issued the following clarifications:

                                  12                  (a)   AviaGames shall produce all documents that hit on the search terms identified
Northern District of California
 United States District Court




                                  13                        in the first bullet of Schedule A (ECF No. 215-1) without regard to whether

                                  14                        those documents also hit on the original search terms.

                                  15                  (b)   AviaGames shall produce all documents that hit on search terms in the second

                                  16                        bullet of Schedule A that also hit on any of the original search terms from all
                                                            non-IM repositories.
                                  17
                                                      (c)   For all documents that hit on any search term run disjunctively but not
                                  18
                                                            ordered produced under paragraph (a) or (b), Avia shall no later than
                                  19
                                                            September 7, 2023, provide to Skillz a list of all terms, its total hits, the
                                  20
                                                            relevant repositories, and any privilege hits, in a chart.
                                  21
                                                      (d)   The parties shall meet and confer on any terms identified in paragraph (c) no
                                  22
                                                            later than September 8, 2023.
                                  23
                                                      (e)   AviaGames may conduct a privilege review and must produce all documents
                                  24
                                                            subject to privilege review and privilege logs no later than September 20,
                                  25
                                                            2023.
                                  26
                                                      (f)   Without prejudice to Skillz moving for certain documents or logs to be
                                  27
                                                            produced earlier, Avia shall produce all logs or documents as appropriate on a
                                  28
                                                                                          3
                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 4 of 20




                                   1                          rolling basis through September 20, 2023. AviaGames shall prioritize

                                   2                          documents hitting on search terms in Schedule A, first bullet; then Schedule

                                   3                          A, second bullet; then the original terms.

                                   4                    (g)   AviaGames shall make its source code available for Skillz to review for three

                                   5                          days, with the ability to request more if necessary. This review shall be

                                   6                          conducted on one computer and shall not include collateral documents.

                                   7   Dkt. 251 (the “Clarification Order”).

                                   8          The Parties have had several discovery disputes arising out of the August 23 Order and

                                   9   Clarification Order, resulting in additional orders by Judge Freeman and the undersigned. See

                                  10   Dkt. 284, 318.

                                  11          The present discovery dispute involves a subset of the documents responsive to Skillz’ bot-

                                  12   related discovery that Avia withheld on the basis of privilege. See Dkt. 300-3. The first category
Northern District of California
 United States District Court




                                  13   of privileged documents challenged by Skillz concerns certain communications between Avia and

                                  14   attorneys at the law firm of Blank Rome in connection with “issues around skill gaming.” Id. at 1.

                                  15   According to Skillz, Blank Rome provided “reasoned legal opinion[s]” that Avia used to access

                                  16   financial institutions in which Blank Rome represented that in all “For Cash” games “the Prize(s)

                                  17   announces are guaranteed to be awarded to User(s) participating in the Game,” and “[n]either

                                  18   [Avia] nor any Developer may keep or win any Prize(s) associated with any Game.” Id.; see also

                                  19   Tab 1 to Dkt. 336 (the Court refers to the exemplar at Tab 1 as the “Opinion Letter”). This

                                  20   allegation is supported by the evidence Skillz presented to the Court, specifically the opinion

                                  21   letters authored by Blank Rome to financial institutions on behalf of Avia. See Dkt. 336-338 at

                                  22   Tabs 1 to 57. Skillz argues that these representations in the opinion letters were fraudulent

                                  23   because “players are actually playing against Avia’s bots who win cash.” Dkt. 300-3 at 2. The

                                  24   second category of privileged documents challenged by Skillz concerns Avia seeking legal advice

                                  25   regarding how to respond to player questions and complaints. Id. at 1. Skillz contends that

                                  26   “[f]ollowing receipt of such advice, Avia repeatedly lied to customers” by telling them they were

                                  27   always playing against real players rather than bots, “leading a reasonable person to infer that Avia

                                  28   utilized such attorney communications to craft its fraudulent responses.” Id. at 5.

                                                                                           4
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 5 of 20




                                   1          Skillz argues that “[b]ecause Avia’s communications with counsel relate to and likely were

                                   2   in furtherance of Avia’s ongoing fraud against its customers” and other third parties “such

                                   3   communications fall within the crime-fraud exception to the attorney-client privilege.” Id. at 1;

                                   4   see also id. at 2-3. Skillz requested that the Court conduct an in-camera review of 207

                                   5   “communications” and 24 “documents” listed on Avia’s privilege logs. Id.

                                   6          The Court ordered Avia to produce the materials for in-camera review. Dkt. 325.2 The

                                   7   Court also ordered Skillz to provide the Court with additional documents concerning the basis for

                                   8   its request for in-camera review, specifically the opinion letters and customer complaints

                                   9   referenced in the Parties’ joint discovery submission. Dkt. 331; see also Dkt. 336-338. The Court

                                  10   completed a review of the documents submitted by Avia and Skillz, then set this matter for

                                  11   hearing on October 24, 2023. Dkt. 339. Before the hearing, the Court issued an order directing

                                  12   Avia to be prepared to explain the basis for asserting the attorney/client privilege for 25
Northern District of California
 United States District Court




                                  13   documents in light of non-attorneys identified as either author or recipients of communications.

                                  14   Dkt. 350. The Court also directed Avia to be prepared to explain why the attorney-client privilege

                                  15   had not been waived on the basis of the crime-fraud exception as to 87 of the documents. Id.

                                  16   Twelve (12) of the 25 documents for which the Court questioned the basis for privilege are

                                  17   included in the 87 for which the Court evaluates the crime-fraud exception.

                                  18          At the October 24, 2023, the Court ordered the Parties to submit additional briefs on

                                  19   specific topics. See Dkt. 411-412. The Court has reviewed those additional briefs, declarations

                                  20   and exhibits. Dkts. 416, 417, 419, 420, 421.

                                  21   II.    LEGAL STANDARD

                                  22          Federal common law governs the attorney-client privilege when courts adjudicate issues of

                                  23   federal law. United States v. Ruehle, 583 F.3d 600, 608 (9th Cir. 2009); see also Fed. R. Ev. 501.

                                  24

                                  25
                                       2
                                         According to the Parties’ joint submission, the first category of documents (Avia’s
                                       communications with attorneys at Blank Rome) consists of 207 documents, and the second
                                  26   category of documents (Avia’s efforts to obtain legal advice for responding to player questions
                                       and complaints) consists of 24 documents. Dkt. 300-3. The joint statement does not indicate
                                  27   whether there is any overlap between these categories of documents. In response to the Court’s
                                       order at Dkt. 325, Avia provided the Court with 228 documents for in-camera review, along with
                                  28   a spreadsheet identifying those 228 documents. The Court has reviewed those 228 documents in-
                                       camera.
                                                                                         5
                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 6 of 20




                                   1   The attorney-client privilege protects confidential communications between attorneys and clients

                                   2   for the purpose of legal advice. Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). The

                                   3   privilege “is intended ‘to encourage clients to make full disclosure to their attorneys,’” recognizing

                                   4   that sound advice depends on transparency. Hernandez v. Tanninen, 604 F.3d 1095, 1100 (9th

                                   5   Cir. 2010) (quoting Upjohn, 449 U.S. at 389).

                                   6          Whether a communication or document is covered by the attorney-client privilege is

                                   7   determined by an eight-part test:

                                   8                  (1) Where legal advice of any kind is sought (2) from a professional legal adviser in
                                   9                  his capacity as such, (3) the communications relating to that purpose, (4) made in
                                                      confidence (5) by the client, (6) are at his instance permanently protected (7) from
                                  10                  disclosure by himself or by the legal adviser, (8) unless the protection be waived.

                                  11   United States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010 (citation omitted). “As with all

                                  12   evidentiary privileges, the burden of proving that the attorney-client privilege applies rests not
Northern District of California
 United States District Court




                                  13   with the party contesting the privilege, but with the party asserting it.” Weil v. Inv./Indicators,

                                  14   Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir. 1981) (internal citations omitted); see also Ruehle,

                                  15   583 F.3d at 607 (stating that the “party asserting the attorney-client privilege has the burden of

                                  16   establishing the relationship and the privileged nature of the communication” (emphasis in

                                  17   original)). Because it impedes full and free discovery of the truth, the attorney-client privilege is

                                  18   strictly construed.” United States v. Martin, 278 F.3d 988, 999 (9th Cir. 2002). The same burden

                                  19   applies to the party asserting work product protection. See Hernandez, 604 F.3d at 1102.

                                  20   III.   DISCUSSION

                                  21          As explained above, the undersigned has conducted an in-camera review of the 228

                                  22   documents submitted by Avia, and before the October 24, 2023 hearing, the Court asked Avia to

                                  23   be prepared to explain (1) the basis for asserting the attorney/client privilege for 25 documents in

                                  24   light of non-attorneys identified as either author or recipients of communications, and (2) why the

                                  25   attorney-client privilege had not been waived on the basis of the crime-fraud exception as to 87 of

                                  26   the documents. Dkt. 350. After careful consideration of the relevant law and the Parties’

                                  27   arguments in their briefs (including supplemental briefs) and at the hearing, the Court concludes as

                                  28   to certain of the documents at issue that even if those documents are subject to the attorney-client

                                                                                          6
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 7 of 20




                                   1   privilege, they fall within the crime-fraud exception to the privilege.

                                   2          1. Applicability of attorney-client privilege
                                   3          “Generally, an attorney-client communication made in the presence of, or shared with, a

                                   4   third party is not confidential and therefore not privileged.” Klein v. Meta Platforms, Inc., No. 20-

                                   5   cv-08570-JD (VKD), 2022 WL 767096, at *4 (N.D. Cal. Mar. 11, 2022) (citations omitted).

                                   6          Before the October 24 hearing, the Court asked Avia to be prepared to address the basis for

                                   7   claiming attorney-client privilege for 25 specified documents for which non-attorney third parties

                                   8   were identified as either author or recipients. Dkt. 350. At the hearing, the Court also ordered the

                                   9   Parties to provide supplemental briefing on the circumstances under which a third party’s presence

                                  10   abrogates the attorney-client privilege. Dkt. 411, 412. The Parties submitted supplemental briefs

                                  11   on this issue. Dkt. 417, 419, 420.

                                  12                  1.      Communications involving Jarrod Epps
Northern District of California
 United States District Court




                                  13          Of the 25 documents in this category, 23 identify third-party business consultant and

                                  14   software licensor Jarrod Epps as either an author or a recipient.3 Avia advances two theories as to

                                  15   why including Mr. Epps does not destroy the attorney-client privilege: (1) Avia argues that

                                  16   Mr. Epps was a functional employee of Avia; and (2) Avia argues that Mr. Epps and Avia had a

                                  17   common legal interest. See Dkt. 417-2. In support of these arguments, Avia points to the

                                  18   consulting contract and the software license between Mr. Epps and Avia. Dkt. 417-5. Skillz

                                  19   challenges Avia’s arguments with citations to Mr. Epps’ deposition. Dkt. 419-4 to 419-8.

                                  20                          a.      Functional Employee
                                  21          The Ninth Circuit has held that where a third party is the functional equivalent of a

                                  22   corporate employee, his participation or inclusion in an attorney-client communication does not

                                  23   destroy the corporation’s privilege. United States v. Graf, 610 F.3d 1148, 1158-59 (9th Cir.

                                  24   2010). A functional employee includes a non-employee representative of a company who has

                                  25

                                  26   3
                                        The documents are: PrivLog_0400, PrivLog_0401, PrivLog_0403, PrivLog_0404,
                                  27   PrivLog_0405, PrivLog_0406, PrivLog_0407, PrivLog_0408, PrivLog_0409, PrivLog_0410,
                                       PrivLog_0411, PrivLog_0412, PrivLog_0413, PrivLog_0414, PrivLog_0415, PrivLog_0416,
                                  28   PrivLog_0417, PrivLog_0418, PrivLog_0430, PrivLog_0431, PrivLog_0446, PrivLog_0447, and
                                       PrivLog_0462
                                                                                  7
                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 8 of 20




                                   1   information corporate counsel needs to provide legal advice to the corporation. Klein, 2022 WL

                                   2   767096, at *4 (citing Graf, 610 F.3d at 1158-59). More specifically, the attorney-client privilege

                                   3   may be extended to a non-employee who is demonstrably integrated into the staff of the party

                                   4   seeking to maintain the privilege. Schaeffer v. Gregory Village Partners, 78 F. Supp. 3d 1198

                                   5   (N.D. Cal. 2015). Facts supporting the requisite level of integration include the non-employee

                                   6   acting as the public face of the company (Shaeffer,77 F. Supp. 3d at 1204); daily involvement with

                                   7   company’s principals and daily attention to the company’s objectives (In re Bieter Co., 16 F.3d

                                   8   929, 938 (8th Cir.1994)); and the non-employee having unique marketing and employee

                                   9   management responsibilities (Graf 610 F.3d at 1158-59).

                                  10          Mr. Epps is a consultant who worked with Avia from approximately November, 2016 to

                                  11   March, 2017. Dkt. 417-2 at 4. Mr. Epps testified that he was a “business consultant for

                                  12   AviaGames” “[f]or a brief period” and that he was “familiar” with Avia “to some extent.”
Northern District of California
 United States District Court




                                  13   Dkt. 419-5. This description is consistent with Avia’s acknowledgement that under the terms of

                                  14   their contract, Mr. Epps spent approximately 15 hours a month consulting with Avia. Dkt. 417-2

                                  15   at 4. The scope of Mr. Epp’s work, which is the laid out in the written contract, includes

                                  16   introductions to key partners, facilitation of the exchange of initial information with these key

                                  17   partners, the review of non-legal documents and advice on how to gain approvals from key

                                  18   partners. Dkt. 417-5 at 2. Mr. Epps elaborated that his consulting company “cooperated with

                                  19   hundreds of companies,” presumably providing similar services. Dkt. 419-4.

                                  20          Skillz characterizes of Mr. Epps’ relationship with Avia as that of a “part-time consultant,”

                                  21   and the Court agrees. There are no facts in the record that demonstrate the level of integration

                                  22   relied upon by other courts in expanding the claim of privilege to a “functional employee.”

                                  23   Accordingly, the Court declines to find that Mr. Epps was a functional employee of Avia and

                                  24   therefore the communications identified above as including Mr. Epps as either an author or a

                                  25   recipient are not privileged under this theory.

                                  26                          b.      Common Interest
                                  27          In addition to the consulting arrangement, Mr. Epps granted to Avia a non-exclusive

                                  28   software license to a gaming platform that he had developed. Dkt. 417-5 at 6-11. Avia argues that
                                                                                         8
                                         Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 9 of 20




                                   1   this licensor and licensee relationship gave rise to a common legal interest between Avia and Mr.

                                   2   Epps such that communications with counsel which include Mr. Epps are privileged. See Dkt.

                                   3   417-2 at 4-5. The common interest doctrine serves as an exception to the waiver of attorney-client

                                   4   privilege where (1) the communication at issue is made by separate parties in the course of a

                                   5   matter of common interest; (2) the communication is designed to further that effort; and (3) the

                                   6   privilege has not been waived. Callwave Comms., LLC v. Wavemarket, Inc., No. C 14-80112 JSW

                                   7   (LB), 2015 WL 831539, at *4 (N.D. Cal. Feb. 23, 2015) (citations omitted). The parties “must

                                   8   have a common legal, as opposed to commercial, interest.” Id. (citations omitted).

                                   9          Avia posits that because of their licensor/licensee relationship, “Mr. Epps and AviaGames

                                  10   possessed an identical common legal interest in obtaining a legal opinion regarding AviaGames’

                                  11   platform and game offerings.” Dkt. 417-2 at 4-5. Avia points to In re Regents of Univ. of

                                  12   California, 101 F.3d 1386, 1390 (Fed. Cir. 1996) as instructive. In that case, the court addressed
Northern District of California
 United States District Court




                                  13   the common legal interest held by a patent holder and a licensee in defending patents in litigation,

                                  14   the common legal interest being that the patents be found valid and enforceable. Id. Here

                                  15   however whether the common interest shared by Mr. Epps and Avia in obtaining a legal opinion

                                  16   letter from Blank Rome is legal or commercial in nature is far less clear. However, the Court need

                                  17   not reach a conclusion as to whether the common interest exception applies because, as discussed

                                  18   below, twelve (12) of the 23 documents reflecting communications between Avia and counsel at

                                  19   Blank Rome which include Mr. Epps, even if privileged, also fall within the crime-fraud exception

                                  20   (PrivLog_0400-401; 0403-408; 0430-431; and 0446-447). As for the remaining eleven (11)

                                  21   documents that include Mr. Epps (PrivLog_0409-0418 and 0462), the Court has determined that

                                  22   they are not relevant to the issues now before the Court and therefore declines to abrogate the

                                  23   assertion of privilege on this record.

                                  24                  2.       Two remaining documents for which the Court questioned privilege
                                  25          Of the remaining (two) documents in this category (PrivLog_587 and 588), the first,

                                  26   PrivLog_587, appears to be communications between principals of Avia, some of whom are using

                                  27   the domain “newcode.co,” and a third party unrelated to this dispute. The second, PrivLog_588,

                                  28   appears to be an internal communication between Avia principals transmitting the opinion letter,
                                                                                        9
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 10 of 20




                                   1   and again one of the principals is using the newcode.co domain. The Court had inquired as to the

                                   2   status of NewCode, which the Parties addressed in supplemental briefing in starkly contrasting

                                   3   terms. However, upon further evaluation, the Court finds that neither of these two documents

                                   4   involves communications with counsel.4 Accordingly, neither of these documents is privileged,

                                   5   and they both must be produced.

                                   6           2. Crime-Fraud Exception
                                   7           The crime-fraud exception to the attorney-client privilege applies when (1) a “client

                                   8   consults an attorney for advice that will serve [them] in the commission of a fraud or crime,” and

                                   9   (2) the communications are “sufficiently related to” and were made “in furtherance of” the crime.

                                  10   In re Grand Jury Investigation, 810 F.3d 1110, 1113 (9th Cir. 2016); In re Grand Jury Proc., 87

                                  11   F.3d 377, 381-83 (9th Cir. 1996). It is irrelevant whether the attorney was aware of the illegal

                                  12   purpose or whether the scheme was ultimately successful. United States v. Laurins, 857 F.2d 529,
Northern District of California
 United States District Court




                                  13   540 (9th Cir. 1988); In re Grand Jury Proc. (Corp.), 87 F.3d at 382. The exception extinguishes

                                  14   both the attorney-client privilege and work product protection. Eastman v. Thompson, 594 F.

                                  15   Supp. 3d 1156, 1188 (C.D. Cal. 2022) (citing In re Int’l Sys. & Controls Corp. Sec. Litig., 694

                                  16   F.2d 1235, 1242 (5th Cir. 1982); In re John Doe Corp., 675 F.2d 482, 492 (2d Cir. 1982); and

                                  17   United States v. Christensen, 828 F.3d 763, 805 (9th Cir. 2015)). The party seeking disclosure

                                  18   must prove the crime-fraud exception applies by a preponderance of the evidence, meaning “the

                                  19   relevant facts must be shown to be more likely true than not.” In re Napster, Inc. Copyright Litig.,

                                  20   479 F.3d 1078, 1094–95 (9th Cir. 2007), abrogated on other grounds by Mohawk Indus., Inc. v.

                                  21   Carpenter, 558 U.S. 100 (2009); see also United States v. Lawrence, 189 F.3d 838, 844 (9th

                                  22   Cir.1999); Fed. R. Evid. 104(a).

                                  23           A party requesting that a court conduct an in-camera review of documents withheld as

                                  24   privileged must make a threshold showing of a factual basis adequate to support a good faith

                                  25   belief by a reasonable person that in-camera review of the materials may reveal evidence to

                                  26   establish the claim that the crime-fraud exception applies. United States v. Zolin, 491 U.S. 554,

                                  27
                                       4
                                  28    The opinion letter is not privileged and a draft falls within the crime-fraud exception as reasoned
                                       below.
                                                                                         10
                                        Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 11 of 20




                                   1   572 (1989). “Once that showing is made, the decision whether to engage in in camera review

                                   2   rests in the sound discretion of the district court,” which “should make that decision in light of the

                                   3   facts and circumstances of the particular case, including, among other things, the volume of

                                   4   materials the district court has been asked to review, the relative importance to the case of the

                                   5   alleged privileged communication, and the likelihood that the evidence produced through in-

                                   6   camera review, together with other available evidence then before the court, will establish that the

                                   7   crime-fraud exception does apply.” Id.

                                   8          Applying this legal standard, the Court finds that the crime-fraud exception applies to 87 of

                                   9   the documents for which privilege has been claimed. The documents fall into two general

                                  10   categories: (1) communications between Avia and its counsel relating to the formation and

                                  11   execution of the attorney opinion letter; and (2) communications between Avia and its counsel

                                  12   relating to customer complaints that the games were not being played against live persons. The
Northern District of California
 United States District Court




                                  13   Court addresses each category in turn.

                                  14                  1.      The Opinion Letter
                                  15          It is Skillz’ burden is to demonstrate that it is more likely than not that the crime fraud

                                  16   exception applies. More particularly, Skillz must demonstrate that it is more likely than not that

                                  17   Avia consulted Blank Rome for advice that would serve Avia in the commission of a fraud, and

                                  18   that the communications were made in furtherance of the fraud.

                                  19          The essence of Skillz’ allegation of fraud arising out of the Opinion Letter is that (1) there

                                  20   are intentional, material misrepresentations to financial institutions; (2) which were relied upon;

                                  21   (3) to the detriment of the institutions. Dkt. 300-3 at 2 (citing Huntsman v. Corp. of the Pres. of

                                  22   the Church of Jesus Christ of Latter-Day Saints, 76 F.4th 962, 971 (9th Cir. 2023)).

                                  23   The Opinion Letter speaks for itself, and the Parties do not dispute what it is and what it says.

                                  24   Avia does, however, challenge whether the statements in the Opinion Letter were in fact

                                  25   intentional misrepresentations. In relevant part, the Opinion Letter provides:

                                  26          1. The Company operates a skill gaming platform (the “Platform”) that

                                  27          enables game developers (“Developers”) to offer multi-player

                                  28          mobile games (the “Games”) to a customer base managed by the
                                                                                         11
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 12 of 20




                                   1           Company ( collectively the "Business").

                                   2
                                              *******
                                   3

                                   4
                                              4. In all "For Cash" Games, the following requirements are met:
                                   5
                                             ******
                                   6
                                               c. For each Game, the Prize(s) announced are guaranteed to be
                                   7
                                               awarded to User(s) participating in the Game (unless the
                                   8
                                               Game is cancelled and all entry fees are refunded); and
                                   9
                                               d. Neither the Company nor any Developer may keep or win
                                  10
                                               any Prize(s) associated with any Game.
                                  11
                                       Dkt. 336 at Tab 1 p. 1-2, see also Dkts. 336-338 at Tabs 2-57. The Opinion Letter is verified by
                                  12
Northern District of California




                                       Jamie Leung, Head of Product and Compliance for Avia, which provides:
 United States District Court




                                  13

                                  14                  3.      I have reviewed the factual background set forth under the heading

                                  15           “Limitation on Scope of Factual Review” of the Legal Advice, and confirm that the

                                  16           statements contained therein in paragraphs 1-11 are true, accurate and complete, and

                                  17           hereby make such statements to Blank Rome LLP.

                                  18   Id. at PDF p. 85.

                                  19           At the hearing, Avia conceded that when a user plays against a video of a previously

                                  20   played game5, if the user loses, Avia keeps with winnings:

                                  21           Mr. Riedinger: As I understand it, if the video player wins, the player who is live at the

                                  22           time is losing and they lose the bet that they made.

                                  23           The Court: Right. And who- who benefits from that?

                                  24           Mr. Riedinger: As I understand it, that money is retained by the company.

                                  25   Dkt. 429 (SEALED transcript of 10/24/23 hearing) at 22:14-20.

                                  26
                                  27
                                       5
                                         The Parties contest whether this format is in fact “a bot.” However, at a previous hearing
                                       addressing issues arising out of “bot”-related discovery, the Court expressly included that format
                                  28   in the Court’s definition of “bot” for purposes of these discovery disputes. Dkt. 286 (transcript of
                                       9/28 hearing) at 5-6.
                                                                                         12
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 13 of 20




                                   1           Further in the hearing and in subsequent briefing, Avia argued that a “Game” (a product,

                                   2   such as Solitaire) is different from a “match” (a competition between players). Id. at 59:14-61:16;

                                   3   Dkt. 421-1 at 3. Avia argues that Skillz’ allegations arise out of user statements regarding

                                   4   matches (see Dkt. 416-3 at 4, Ex. C), whereas the statements in the Opinion Letter relate to

                                   5   Games. “So what we have with the Avia People is a belief that their games overall don’t result in

                                   6   them keeping money. Individual matches might, but the games don’t. They’re losing money on

                                   7   what Skillz is calling Bots.” Dkt. 429 (SEALED transcript of 10/24/23 hearing) at 60:5-8. But

                                   8   there is no evidence in the record to support counsel’s argument that Avia was distinguishing

                                   9   between matches and Games, and Mr. Leung’s verification undermines this argument. The Court

                                  10   does not find Avia’s attempt to distinguish between whether it retained “Prizes” in a particular

                                  11   match or in a “Game” to be either meaningful or persuasive for purposes of the crime-fraud

                                  12   analysis. Nor is it persuaded by the suggestion that Avia was distinguishing between a match and
Northern District of California
 United States District Court




                                  13   a Game in signing off on the Opinion Letter. Avia keeps money awarded by the use of bots, yet it

                                  14   represented to the financial institutions that it did not keep any Prize “associated with any Game.”

                                  15   This latter statement logically encompasses a match played using any particular Game. Thus, the

                                  16   evidence demonstrates that it is more likely than not that the statements in section 4 of the Opinion

                                  17   Letter set forth above are intentional, material misrepresentations.6

                                  18           Avia also argued that Skillz has presented no evidence of reliance or harm by the financial

                                  19   institutions. Avia’s emphasis on whether or not Skillz can ultimately prove fraud is misplaced.

                                  20   See In re Napster, 479 F.3d at 1094–95. Here, there are sufficient facts of an actual

                                  21   misrepresentation along with the fact that Avia games has been able to conduct its business with

                                  22   the assistance of financial institutions from which reliance by those institutions on the Opinion

                                  23   Letter is reasonably inferred. See United States v. Christensen, 828 F.3d 763, 801 (9th Cir. 2015).

                                  24   Similarly, harm to the institutions from doing business with Avia based upon the Opinion Letter is

                                  25   also reasonably inferred.

                                  26
                                  27   6
                                         There is no evidence in the record before this Court, including in documents reviewed in-
                                  28   camera, that counsel at Blank Rome was aware that the statements were misrepresentations of
                                       fact.
                                                                                         13
                                        Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 14 of 20




                                   1          The communications at issue all relate to the development of the opinion letter by Blank

                                   2   Rome, including the statement affirmed by Avia that it takes no prizes from any Game. The Court

                                   3   finds Skillz has shown that it is more likely than not that Avia consulted Blank Rome for advice

                                   4   that would serve Avia in the commission of a fraud, to wit the representations in section 4 of the

                                   5   Opinion Letter, and that the communications were made in furtherance of that fraud. Accordingly,

                                   6   the Court concludes that as to the communications between Avia and its counsel at Blank Rome

                                   7   regarding the Opinion Letter, the crime-fraud exception applies and the documents must be

                                   8   produced.

                                   9                  2.      Avia’s statements to users in re use of bots
                                  10          At issue here are communications between Avia and counsel at Blank Rome regarding

                                  11   how Avia should respond to customer complaints regarding the use of bots. As to these

                                  12   communications, Skillz must demonstrate that it is more likely than not that Avia consulted Blank
Northern District of California
 United States District Court




                                  13   Rome for advice that would serve Avia in the commission of a fraud, specifically what it would

                                  14   tell users about its use of bots, and that the communications were made in furtherance of the fraud.

                                  15   See section 2 above.

                                  16          The essence of Skillz’ allegation of fraud arising out of Avia’s representations to users is

                                  17   that (1) there were intentional, material misrepresentations to users; (2) which were relied upon;

                                  18   (3) to the users’ detriment. Dkt. 300-3 at 2 (citing Huntsman, 76 F.4th at 971). In supplemental

                                  19   briefing, Skillz provided the Court ten examples of Avia’s public responses to users’ complaints

                                  20   about playing against bots or “not live players.” Avia frequently responded that the user was

                                  21   playing against “opponents with similar skill level,” or even more directly that “your opponents

                                  22   are real players, not bots.” Dkt. 416-6, at 2-6. These statements misrepresent against whom or

                                  23   what the users are playing. Even adopting, en arguendo, Avia’s position that a previously video-

                                  24   taped game is not a “bot,” its response that the opponent is “real” to the users’ complaint that the

                                  25   opponent is “not live” is an intentional, material misrepresentation, and Avia’s argument to the

                                  26   contrary at the hearing was unavailing.

                                  27          As with the Opinion Letter, Avia argued that Skillz has presented no evidence of reliance

                                  28   by or harm to the users. As addressed above, Avia’s emphasis on whether or not Skillz can
                                                                                        14
                                           Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 15 of 20




                                   1   ultimately prove fraud is misplaced. See In re Napster, 479 F.3d at 1094–95. Here, there are

                                   2   sufficient facts of actual misrepresentations along with the fact that Avia has continued to be in

                                   3   business because users have continued to play its games from which the users’ reliance on Avia’s

                                   4   misrepresentations is reasonably inferred. See Christensen, 828 F.3d at 801. Harm to the users,

                                   5   loss of their wagers to bots, is also a reasonable inference.

                                   6           The communications at issue all relate to Avia inquiries to Blank Rome as to how much

                                   7   information Avia must give users who raise these complaints, including whether opponents have

                                   8   to be identified. The Court finds that Skillz has shown that it is more likely than not that Avia

                                   9   consulted Blank Rome for advice that would serve Avia in the commission of a fraud, to wit the

                                  10   misrepresentations to users as to Avia’s use of bots, and that the communications were made in

                                  11   furtherance of that fraud. Accordingly, the Court concludes that as to the communications

                                  12   between Avia and its counsel at Blank Rome regarding Avia’s response to user complaints
Northern District of California
 United States District Court




                                  13   regarding opponents, the crime-fraud exception applies and the documents must be produced.7

                                  14           In sum, all 87 documents listed in Section 3 of Attachment A are in furtherance of the

                                  15   alleged fraud arising out of Avia’s misrepresentations to financial institutions and customers. See

                                  16   In re Grand Jury Proc., 87 F.3d at 381-82. Accordingly, the crime-fraud exception to the

                                  17   assertion of privilege applies to these documents.8 Avia is to produce the documents to Skillz no

                                  18   later than November 2, 2023. Either party may appeal this order to the District Judge. See Fed. R.

                                  19   Civ. P. 72(a) (“A party may serve and file objections” to a nondispositive pretrial order of a

                                  20   magistrate judge “within 14 days after being served with a copy”); see also Civ. L.R. 72-2

                                  21   (procedure for motion for relief from nondispositive pretrial order of a magistrate judge).

                                  22

                                  23

                                  24   7
                                        There is no evidence in the record before this Court, including in documents reviewed in-
                                  25   camera, that counsel at Blank Rome was aware that the statements to users were
                                       misrepresentations of fact.
                                  26   8
                                         Although the Parties’ joint statement (Dkt. 301) focuses on attorney-client privilege, Avia’s
                                  27   privilege log claims both attorney-client privilege and work product protection for four documents
                                       in this category: PrivLog_0463 to PrivLog_0466. See Dkt. 300-4. As indicated above, the crime-
                                  28   fraud exception extinguishes both the attorney-client privilege and the work product doctrine. See
                                       Eastman, 594 F. Supp. at 1188.
                                                                                         15
                                        Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 16 of 20




                                   1   IV.    CONCLUSION

                                   2          For the foregoing reasons, the Court orders Avia to produce the documents listed in

                                   3   Attachment A to Skillz no later than November 2, 2023.

                                   4          SO ORDERED.

                                   5   Dated: October 31, 2023

                                   6

                                   7
                                                                                                  SUSAN VAN KEULEN
                                   8                                                              United States Magistrate Judge
                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      16
                                       Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 17 of 20




                                   1                                         ATTACHMENT A

                                   2       1. Avia is ordered to produce the following documents, including attachments, because
                                              the Court finds that they are not privileged:
                                   3
                                                         PrivLog_587
                                   4
                                                         PrivLog_588
                                   5
                                           2. Avia is ordered to produce the following documents, including attachments, because
                                   6          even if covered by the common interest doctrine, these documents fall within the
                                              crime-fraud exception to attorney-client privilege:
                                   7
                                                          PrivLog_0400
                                   8
                                                          PrivLog_0401
                                   9
                                                          PrivLog_0403
                                  10
                                                          PrivLog_0404
                                  11
                                                          PrivLog_0405
                                  12
Northern District of California




                                                          PrivLog_0406
 United States District Court




                                  13
                                                          PrivLog_0407
                                  14
                                                          PrivLog_0408
                                  15
                                                          PrivLog_0430
                                  16
                                                          PrivLog_0431
                                  17
                                                          PrivLog_0446
                                  18
                                                          PrivLog_0447
                                  19
                                           3. Avia is ordered to produce the following documents, including attachments, because
                                  20          the Court finds that they fall within the crime-fraud exception to attorney-client
                                              privilege:
                                  21
                                                          PrivLog_0419
                                  22
                                                          PrivLog_0420
                                  23
                                                          PrivLog_0421
                                  24
                                                          PrivLog_0422
                                  25
                                                          PrivLog_0423
                                  26
                                                          PrivLog_0424
                                  27
                                                          PrivLog_0426
                                  28
                                                                                  17
                                       Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 18 of 20




                                   1                    PrivLog_0432

                                   2                    PrivLog_0433

                                   3                    PrivLog_0434

                                   4                    PrivLog_0435

                                   5                    PrivLog_0436

                                   6                    PrivLog_0437

                                   7                    PrivLog_0438

                                   8                    PrivLog_0439

                                   9                    PrivLog_0440

                                  10                    PrivLog_0442

                                  11                    PrivLog_0443

                                  12                    PrivLog_0444
Northern District of California
 United States District Court




                                  13                    PrivLog_0445

                                  14                    PrivLog_0448

                                  15                    PrivLog_0449

                                  16                    PrivLog_0450

                                  17                    PrivLog_0456

                                  18                    PrivLog_0457

                                  19                    PrivLog_0458

                                  20                    PrivLog_0459

                                  21                    PrivLog_0460

                                  22                    PrivLog_0461

                                  23                    PrivLog_0463

                                  24                    PrivLog_0464

                                  25                    PrivLog_0465

                                  26                    PrivLog_0466

                                  27                    PrivLog_0467

                                  28                    PrivLog_0468

                                                                           18
                                       Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 19 of 20




                                   1                    PrivLog_0469

                                   2                    PrivLog_0470

                                   3                    PrivLog_0471

                                   4                    PrivLog_0472

                                   5                    PrivLog_0473

                                   6                    PrivLog_0474

                                   7                    PrivLog_0475

                                   8                    PrivLog_0476

                                   9                    PrivLog_0477

                                  10                    PrivLog_0482

                                  11                    PrivLog_0483

                                  12                    PrivLog_0484
Northern District of California
 United States District Court




                                  13                    PrivLog_0485

                                  14                    PrivLog_0486

                                  15                    PrivLog_0487

                                  16                    PrivLog_0488

                                  17                    PrivLog_0489

                                  18                    PrivLog_0490

                                  19                    PrivLog_0491

                                  20                    PrivLog_0493

                                  21                    PrivLog_0500

                                  22                    PrivLog_0508

                                  23                    PrivLog_0509

                                  24                    PrivLog_0510

                                  25                    PrivLog_0513

                                  26                    PrivLog_0514

                                  27                    PrivLog_0515

                                  28                    PrivLog_0516

                                                                           19
                                       Case 5:21-cv-02436-BLF Document 435 Filed 10/31/23 Page 20 of 20




                                   1                    PrivLog_0789

                                   2                    PrivLog_0790

                                   3                    PrivLog_0791

                                   4                    PrivLog_0792

                                   5                    PrivLog_0793

                                   6                    PrivLog_0794

                                   7                    PrivLog_0795

                                   8                    PrivLog_0796

                                   9                    PrivLog_0797

                                  10                    PrivLog_0798

                                  11                    PrivLog_0802

                                  12                    PrivLog_0803
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                           20
